
E. GRADY JOLLY, Circuit Judge:
On February 22, 1988, a panel of this court decided this case, affirming the district court in United States v. Jones, 837 F.2d 1332 (5th Cir.1988). On April 25, 1988, a majority of our court voted to grant en banc rehearing. Oral argument before the en banc court was heard on September 19, 1988. The en banc court has withheld deciding this case until the Supreme Court ruled in Caplin &amp; Drysdale, Chartered Petitioner v. United States. Having reviewed that case, we find it unnecessary for the en banc court to consider this case further, except to apply the Supreme Court decision in Caplin, — U.S. -, 109 S.Ct. 2646, 105 L.Ed.2d 528 (1989). Applying that decision, we reverse the judgment of the district court and remand for further proceedings and the entry of such judgments as are appropriate and not inconsistent with Caplin.
REVERSED AND REMANDED.
